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                       United States District Court
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                       Central District of California
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11   924 BEL AIR ROAD, LLC,                   Case № 2:19-CV-01368-ODW (AFMx)
12                    Plaintiff,
                                              JUDGMENT
13        v.
14   ZILLOW GROUP, INC.; ZILLOW,
15   INC.; and DOES 1 THROUGH 10,
     INCLUSIVE
16
                      Defendants.
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18        Pursuant to the Court’s Order Granting Defendants’ Motion to Dismiss, it is
19   therefore ORDERED, ADJUDGED, and DECREED as follows:
20        1.    Plaintiff shall recover nothing from Defendant;
21        2.    Plaintiff’s First Amended Complaint is dismissed on the merits and with
22              prejudice.
23        IT IS SO ORDERED.
24
25        February 18, 2020
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27                                 ____________________________________
28                                          OTIS D. WRIGHT, II
                                    UNITED STATES DISTRICT JUDGE
